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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   )         No. 4:08CR061 CDP
                                           )
ANTHONY GARRETT,                           )
                                           )
             Defendant.                    )

                                       ORDER

      Defendant Anthony Garrett has filed a Motion to Clarify and/or Amend

Judgment, in which he asks that I clarify that he was “sentenced” to the drug

program. I have no authority to sentence defendant to a drug program, but I did

recommend to the Bureau of Prisons that Garrett be considered for the program, if

that is consistent with their regulations. I will direct the Clerk of Court to send a

copy of the judgment, containing the recommendation, to defendant. But this is

only a recommendation, if the Bureau of Prisons does not put defendant in the

Residential Drug Treatment Program, there is nothing I can do about it.

      Accordingly,

      IT IS HEREBY ORDERED that the Clerk of Court shall send defendant

Anthony Garrett another copy of his judgment form [docket entry #266]
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      IT IS FURTHER ORDERED that defendant’s motion to clarify [#312] is

denied.




                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE


Dated this 20th day of January, 2009.




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